Case

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STATE OF NEW YORK _ )
) SS.:
COUNTY OF NASSAU )

MAUREEN SAUTER, being duly sworn, deposes and says:
That she is over the age of 21 years, resides at Massapequa, New York and is not a party ta
this action.
That on the 3" day of March, 2011 she served the within Statement of Material Facts
Pursuant to Local Rule 56.1 upon the parties listed below, by depositing a true copy thereof in <
properly sealed wrapper in a depository maintained by Federal Express located on the premises aj
Garden City Center, 100 Quentin Roosevelt Boulevard, Garden City, New York 11530, addressed
as follows:

COSTELLO & COSTELLO, P.C.
Salvatore D. Compoccia, Esq.
5919 20th Avenue

Brooklyn, NY 11204

that being the address designated on the latest papers served by them in this action.

“ff net

Maureen | Sduter
Sworn to before me this
3™ day of March, 2011.

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Notary Public

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